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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF CONNECTICUT
                             BRIDGEPORT DIVISION
_______________________________________________
In re                                           : Chapter 11
                                                :
      Ho Wan Kwok,                              : Case No. 22-50073 (JAM)
                                                : Jointly Administered
                  Debtor.1                      :
                                                :
________________________________________________:

       MONTHLY FEE STATEMENT OF PULLMAN & COMLEY, LLC FOR
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PERIOD FROM
               AUGUST 1, 2023 THROUGH AUGUST 31, 2023

       In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals, dated August 18, 2023 [Docket No. 2094]

(the “Interim Compensation Order”), Pullman & Comley, LLC (“P&C”) hereby submits this

monthly statement (the “Monthly Fee Statement”) seeking compensation for services rendered and

reimbursement of expenses incurred as counsel to the Official Committee of Unsecured Creditors

(the “Committee”) appointed in the chapter 11 case of Ho Wan Kwok (the “Individual Debtor”),

for the period from August 1, 2023 through and including August 31, 2023 (the “Fee Period”). By

this Monthly Fee Statement, P&C respectfully requests payment of 80% of all fees and 100% of

all expenses actually and necessarily incurred for services rendered during the Fee Period, in the

amounts of $15,283.60 and $0.00, respectively.




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 The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and
Miles Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595),
Genever Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings
Corporation. The mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings
Corporation is Paul Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as
Trustee for the Estate of Ho Wan Kwok (solely for purposes of notices and communications).
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                           SERVICES RENDERED AND EXPENSES INCURRED

           1.       Attached hereto as Exhibit A is a timekeeper summary that includes the name, title,

bar admission year, hourly billing rate, aggregate hours, and amount of fees earned for each P&C

individual who provided services during the Fee Period. The rates charged by P&C for services

rendered to the Committee are the same rates that P&C charges generally for professional services

rendered to its non-bankruptcy clients.

           2.       Attached hereto as Exhibit B is a summary of P&C’s services rendered and

compensation sought for the Fee Period organized by Task Code Summary.

           3.       Attached hereto as Exhibit C are P&C’s fee statements for services provided

during the Fee Period.

                             NOTICE AND OBJECTION PROCEDURES

           4.       Notice of this Monthly Fee Statement will be given by email on the Notice

Parties:        (i) Luc A. Despins, as chapter 11 trustee for the estate of Ho Wan Kwok

(lucdespins@paulhastings.com); (ii) Counsel for the Trustee, (iii) Paul Hastings LLP, 200 Park

Avenue,         New      York,     New      York     10166     (Attn:    G.      Alexander        Bongartz

(alexbongartz@paulhastings.com) and Douglass Barron (douglassbarron@paulhastings.com))

and (iv) Neubert, Pepe & Monteith, P.C., 195 Church Street, 13th Floor, New Haven, Connecticut

06510      (Attn:     Douglas    S.   Skalka   (dskalka@npmlaw.com)        and    Patrick    R.     Linsey

(plinsey@npmlaw.com)); (v) the Office of The United States Trustee, Giaimo Federal Building,

150 Court Street, Room 302, New Haven, Connecticut 06510 (Attn: Holley L. Claiborn

(holley.l.claiborn@usdoj.gov)); (vi) counsel for Pacific Alliance Asia Opportunity Fund L.P.,

O’Melveny & Myers LLP, 7 Times Square, New York, New York 10036 (Attn: Peter Friedman




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(pfriedman@omm.com) and Stuart M. Sarnoff (ssarnoff@omm.com) (collectively, the “Notice

Parties”).

        5.     Objections to this Monthly Fee Statement, if any, must be filed by the Notice Parties

with the Court and served upon (i) P&C and (ii) the Notice Parties by email no later than

September 28, 2023 at 12:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”),

setting forth the nature of the objection and the specific amount of fees or expenses at issue.

        6.     If no objections to this Monthly Fee Statement are filed by the Objection Deadline,

the estates shall promptly pay P&C 80% of the fees and 100% of the expenses identified in this

Monthly Fee Statement.

        7.     To the extent that an objection to this Monthly Fee Statement is filed on or before

the Objection Deadline, the estates shall withhold payment of that portion of this Monthly Fee

Statement to which the objection is directed and promptly pay the remainder of the fees and

expenses in the percentages set forth above. To the extent such an objection is not resolved, it shall

be preserved and scheduled for consideration at the next interim fee application hearing.

Dated: Bridgeport, Connecticut                 Respectfully submitted,
       September 20, 2023
                                               PULLMAN & COMLEY, LLC


                                               /s/Irve J. Goldman
                                               Irve J. Goldman, Esq. (ct02404)
                                               Kristin B. Mayhew, Esq. (ct20896)
                                               850 Main Street, 8th Floor
                                               P.O. Box 7006
                                               Bridgeport, CT 06601-7006
                                               Telephone: (203) 330-2200
                                               jgoldman@pullman.com
                                               kmayhew@pullcom.com

                                               Counsel to the Official Committee of Unsecured
                                               Creditors


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                               CERTIFICATION OF SERVICE
       I, Irve J. Goldman, herby certify that on the 20th day of September, 2023, a true and
correct copy of the foregoing was filed with the Court and served upon all parties that have filed
a notice of appearance and request for notice electronically via the Court’s CM/ECF electronic
filing system.

                                             /s/Irve J. Goldman
                                             Irve J. Goldman, Esq. (ct02404)




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